Case 1:17-cv-02989-AT Document576 Filed 08/13/19 Page 1 of 1

IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF GEORGIA
ATLANTA DIVISION

 

DONNA CURLING, ET AL.,
Plaintiffs,

Civil Action No. 1:17-CV-2989-AT
V.

BRAD RAFFENSPERGER, ET AL.,
Defendants.

 

 

ORDER GRANTING CURLING PLAINTIFFS’ MOTION TO SEAL
DOCUMENTS RELATED TO THEIR RESPONSE TO SECURITY
PROTOCOLS FOR REVIEW OF VOTE-STEALING MALWARE AND
THE AFFIDAVIT OF J. ALEX HALDERMAN

Good cause having been shown, it is hereby ordered that the Curling
Plaintiffs’ Motion to Seal Documents Related to Their Response To Security
Protocols For Review of Vote-Stealing Malware [Doc. 500] is GRANTED.

The entirety of the filings (Docs. 496, 498) related to the above referenced
Motion shall remain sealed from public view.

IT IS SO ORDERED this 13th day of August, 2019.

Lh LiMn

US. Diktrict ¢ourt Jude Amy Totenberg
